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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 AMY ARMOGIDA,                                )
                                              )
                           Plaintiff,         )
                                              )
                      v.                      )    No. 1:20-cv-01986-JPH-DLP
                                              )
 CENTRAL INDIANA JOBS WITH                    )
 JUSTICE, INC.,                               )
 JOBS WITH JUSTICE, INC.,                     )
                                              )
                           Defendants.        )

               ORDER DENYING MOTION TO DISMISS AS MOOT

       Defendants removed this case to federal court. Dkt. 1. Defendant Jobs

 with Justice, Inc., filed a motion to dismiss, alleging that Plaintiff did not plead

 facts sufficient to show that Jobs with Justice, Inc. was her employer. Dkt.

 [12]. On October 27, 2020, the Court granted Plaintiff's motion for leave "to

 add additional facts and details to support her claims against Defendants."

 Dkt. 30. Neither Defendant objected to Plaintiff's motion. Id.

       Plaintiff has now filed an amended complaint. Dkt. 22. Defendant Jobs

 with Justice's motion to dismiss, dkt. [12], is therefore DENIED without

 prejudice as moot.

 SO ORDERED.

 Date: 10/30/2020




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